         Case 6:20-cv-01673-MC          Document 98       Filed 10/14/21     Page 1 of 5




                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


LEEP, Inc., an Oregon corporation;
                                                                     Case No. 6:20-cv-01673-MC
               Plaintiff,
               v.                                                    OPINION AND ORDER

JOHN NORDSTROM, an individual;

            Defendant.
_____________________________

MCSHANE, Judge:

       Plaintiff LEEP, Inc., brings this action against Defendant John Nordstrom after LEEP

removed, or attempted to remove, Nordstrom as a Director and CEO of LEEP. The parties

briefed issues regarding the validity of the actions taken at the August 31, 2020 special

shareholder meeting.

                                        BACKGROUND

        LEEP is a publicly traded Oregon corporation with approximately 1,260 shareholders.

Pl.’s Compl. ¶ 9, ECF No. 1; id. at ¶ 2. Defendant was appointed as CEO of LEEP and as a

member of LEEP’s Board of Directors in 2007. Id. at ¶ 14.

       Russel C. Adams, Jr., one of four members of the LEEP Board of Directors, died in

October 2015. Id. at ¶ 46. LEEP’s bylaws require that a minimum of four Directors fill spots on

the Board. Id. After Adams’ death, Defendant failed to fill the vacant spot on the Board and

stopped all communications with shareholders and other Board members. Id. at ¶¶ 47-48. From

2016 to 2020, Defendant failed to maintain LEEP’s status as a corporation with the Oregon




1 – ORDER
         Case 6:20-cv-01673-MC          Document 98       Filed 10/14/21     Page 2 of 5




Secretary of State, failed to call shareholder meetings, and failed to hold annual Board of

Directors meetings in violation of LEEP bylaws. Id. at ¶¶ 49-51.

       In May 2020, Scott Record, then a minority shareholder of LEEP, attempted to

communicate with Defendant about actions Defendant purportedly took on LEEP’s behalf. Id. at

¶ 58. Given Defendant’s lack of communication and refusal to act with Board approval, Scott

Record and other shareholders concluded that they had no choice but to remove Defendant as a

Director and as CEO of LEEP. Id. at ¶ 59. On July 30, 2020, LEEP founder and Secretary Grant

Record requested a copy of the shareholder list in writing. Grant Record Decl. ¶ 8; ECF No. 62.

Defendant refused to provide the shareholder list and directed LEEP’s transfer agent,

Continental, to refuse to provide the shareholder list without Defendant’s written consent. Id. at

¶¶ 9-10. On August 21, 2020, Grant Record caused a Notice to Issue concerning a special

shareholder meeting, scheduled to convene on August 31, 2020. Pl.’s Compl. ¶ 60. At the special

shareholder meeting, the shareholders appointed a new Board of Directors, who met and

removed Defendant as CEO and Director and appointed Scott Record as CEO. Id. at ¶¶ 66-68.

       Plaintiff maintains that the statutory and corporate requirements were followed at the

August 31, 2020 special shareholder meeting and that the actions taken therein were valid.

Conversely, Defendant argues that the failure to meet the requirements render all actions taken at

the special shareholder meeting void.

                                          DISCUSSION

       To validly call a special shareholder meeting, the holders of at least 10 percent of all

shares eligible to vote on any issue proposed for consideration must sign, date, and deliver one or

more written demands to the corporation’s secretary that describe the purpose of the meeting.

OR. REV. STAT. § 60.204 (1)(b) (2021). The LEEP bylaws state that special shareholder meetings




2 – ORDER
           Case 6:20-cv-01673-MC              Document 98          Filed 10/14/21        Page 3 of 5




may be called at any time by the Board of Directors or by the holder of not less than one-tenth of

all shares entitled to vote at such meeting. LEEP Bylaws, Art. 1, § 1.3. As of the record date,

Defendant claimed that not less than 124,931,226 shares must be called to meet the 10 percent

threshold. Def.’s Memo 7, ECF No. 59. Defendant asserts that the 10 percent threshold was not

met, alleging that of the affidavits representing 297,645,705 shares submitted in support of

calling the special shareholder meeting, 169,700,000 of those affidavits failed to adequately

convey the purpose of the meeting. Id. Conversely, Plaintiff maintains that only 124,666,225

shares were needed to meet the 10 percent threshold, an accomplishment achieved by one

shareholder alone. Pl.’s Rep. 4-5, ECF No. 75. Defendant concedes that Plaintiff had at least

128,475,705 shares that validly requested the special shareholder meeting. Id. at 4; see Def.’s

Memo 7. Using either Plaintiff’s or Defendant’s calculations, because over 124,931,226 shares

were validly called, the 10 percent threshold was satisfied.1

        Once the 10 percent threshold has been met and the special meeting date has been fixed,

a corporation is required to prepare a list of the names of each shareholder who is entitled to

notice of a shareholders’ meeting. OR. REV. STAT. § 60.224 (1) (2021). The corporation must

make the list available at the meeting. § 60.224 (3). According to Defendant, because the

meeting was invalidly called, neither the Board of Directors nor Defendant had a duty to provide

the shareholder list. Def.’s Memo 9. Plaintiff asserts that Grant Record requested the shareholder

list in writing, which Defendant denied. Pl.’s Memo 11. By denying Grant Record’s written

requests and instructing others to do the same, Defendant prevented Plaintiff from providing the

shareholder list at the special shareholder meeting. Id. at 14. Under ORS § 60.224(5), however,


1
  Defendant argues the notification from John Ratkovich involving 58,135,705 shares were deficient based on “after
the fact” alterations and disputes over whether Mr. Ratkovich was authorized to vote for those shares. Def. Memo. 3.
Mr. Ratkovich, however, submitted a sworn declaration stating the notice was not later modified and that he was
authorized to exercise voting rights for all those shares. Ratkovich Decl. ⁋⁋ 2-5.


3 – ORDER
           Case 6:20-cv-01673-MC                Document 98           Filed 10/14/21         Page 4 of 5




refusal or failure to prepare or make available the shareholder list does not affect the validity of

action taken at a meeting. Therefore, Defendant’s refusal to provide the shareholder list, which

rendered Plaintiff unable to provide an updated and accurate list at the meeting, does not render

the actions taken void.2

         Defendant argues that a quorum was not present at the shareholder meeting because a

majority of eligible shareholders were not present to vote, in violation of ORS § 60.241. Gaines

Decl. 2 Ex. 2, at 8 ¶¶ 14-18, ECF No. 64. According to ORS § 60.241 (1), unless the articles of

incorporation provide for a lesser or greater number in accordance with ORS § 60.247, a quorum

is made up of a majority of those entitled to vote on the matter. OR. REV. STAT. § 60.241 (1)

(2021). The LEEP articles of incorporation, however, provides that one-third of the shares

entitled to vote constitutes a quorum. LEEP Articles of Incorporation, Art. 4.

         As of the August 20, 2020 Record Date, LEEP had 1,246,662,251 shares outstanding.

Pl.’s Memo 4-5. Shareholders owning 447,533,284 voted at the August 31, 2020 special

shareholder meeting. Id. at 5-6. This represents 35.9% of all outstanding shares. Because over

one-third of the outstanding shares were present as required by LEEP’s articles of incorporation,

a quorum was met at the special shareholder meeting.

         Defendant next asserts that the Board of Directors meeting during which Defendant was

removed as a Director and CEO of LEEP was invalid because of a lack of quorum. Def.’s Memo

6. The shareholders, however, voted to elect a six-member Board of Directors. Pl.’s Memo 13.

This complied with Plaintiff’s bylaws, which allow for a Board of Directors consisting of

between 4 to 9 members. LEEP Bylaws, Art. 2, § 2.2. A quorum of the new six-member Board




2
  Plaintiff sent notice of the special shareholder meeting “to shareholders Plaintiff could identify based on the
information available.” Grant Record Decl. ⁋ 11.


4 – ORDER
         Case 6:20-cv-01673-MC          Document 98       Filed 10/14/21      Page 5 of 5




of Directors is four directors, and because all six directors were present, a quorum was achieved.

Pl.’s Memo 14.

       Finally, Defendant alleges that because no two-day notice was given before his removal

as CEO and Director, LEEP’s bylaws were violated, and his removal was invalid. Gaines Decl. 2

Ex. 2, at 11, ¶¶ 2-9. A director’s attendance or participation in a meeting waives this required

notice unless the director objects to the waiver and does not assent to actions taken at the

meeting. OR. REV. STAT. § 60.347 (2) (2021). All six of the new directors were present, and none

of them objected to the meeting for lack of notice or failed to on any action taken at the meeting.

Pl.’s Memo 13. LEEP bylaws also allow for a waiver of the two-day notice requirement imposed

by ORS § 60.347 (2). LEEP Bylaws, Art. 7, § 7.5. The Board of Directors meeting during which

Defendant was removed as a Director and CEO of LEEP did have a quorum, and Defendant’s

removal was valid.

                                         CONCLUSION

       Because the statutory and corporate requirements for holding the August 31, 2020 special

shareholder meeting were satisfied, the meeting at which Defendant was removed as Director

was valid in all respects, and the action of the newly elected Board of Directors removing

Defendant as CEO and appointing Scott Record as CEO was valid in all respects.

IT IS SO ORDERED.

       DATED this 14th day of October 2021.


                                                     /s/ Michael McShane
                                                       Michael McShane
                                                   United States District Judge




5 – ORDER
